 Case: 1:10-cv-01168 Document #: 1271 Filed: 01/16/18 Page 1 of 4 PageID #:37797
                                                                               1


1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            November 10, 2010
8                      Defendants. )            10:30 a.m.
9
                           TRANSCRIPT OF PROCEEDINGS
10                 BEFORE THE HONORABLE MATTHEW F. KENNELLY
11   APPEARANCES:
12
     For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
13                                     BY: MS. H. CANDACE GORMAN
                                       220 South Halsted Street
14                                     Suite 200
                                       Chicago, Illinois 60661
15
16
     For the Defendant:           DYKEMA GOSSETT PLLC
17                                     BY: MR. PAUL A. MICHALIK
                                       10 South Wacker Drive
18                                     Suite 2300
                                       Chicago, Illinois
19
                                  COOK COUNTY STATE'S ATTORNEY
20                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
21                                     Chicago, Illinois
22
23                LAURA M. BRENNAN - Official Court Reporter
                     219 South Dearborn Street - Room 2102
24                          Chicago, Illinois 60604
                                (847) 373-5598
25
 Case: 1:10-cv-01168 Document #: 1271 Filed: 01/16/18 Page 2 of 4 PageID #:37798
                                                                               2


1           (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City of Chicago.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for the plaintiff.
5                MR. GARCIA: Good morning, your Honor; Stephen Garcia
6    for defendants Wharrie and Kelly.
7                MR. MICHALIK: And Paul Michalik for defendant City
8    of Chicago and the police officer defendants and Richard M.
9    Daley.
10               THE COURT: So are we missing anybody? Does that
11   cover everybody?
12               MR. GARCIA: I think that's it.
13               MR. MICHALIK: I think we are all here.
14               THE COURT: Okay. So the motion to file a corrected
15   third amended complaint is granted.
16               MS. GORMAN: Thank you.
17               THE COURT: And so I guess the question on the table
18   is I've got all of these motions to dismiss although --
19               Hang on a second. For some reason, I don't think I
20   have all of them. Let me just do a quick inventory here. You
21   know, the one that I don't think --
22               No, maybe I do have them all. Daley, Kolovitz, et
23   al. Never mind. I've got all of them.
24               So do you need to tweak them, redo them?
25               MR. GARCIA: I think so, Judge. Looking through,
 Case: 1:10-cv-01168 Document #: 1271 Filed: 01/16/18 Page 3 of 4 PageID #:37799
                                                                               3


1    first of all, the citations, they're going to be changed.
2    There's some paragraphs they removed which is going to remove
3    some discussion.
4                THE COURT: So how would you prefer to do it?
5                MR. GARCIA: I'd just like to file --
6                THE COURT: Start over?
7                MR. GARCIA: Well, not start over. I just really
8    want to tweak the motions I already filed to change some
9    stuff, and only seven days for that.
10               THE COURT: Okay. So what you're going to give me is
11   a new memorandum, or are you going to give me sort of a cross-
12   reference or what exactly?
13               MR. GARCIA: I think just a new memorandum to put it
14   all in one place so it would be the simplest; otherwise there
15   is a lot looking back and forth.
16               THE COURT: Same for you?
17               MR. MICHALIK: We can do the same. We have, I think,
18   probably less tweaks that we would need to make, but I think
19   for the convenience of the Court, it would be easier if we
20   just --
21               THE COURT: All right. So the motions to -- we'll
22   just call it supplements to the motions to dismiss are to be
23   filed by the 17th of November.
24               There was a motion on behalf of the County defendants
25   to file excess pages, Augie. That's number 102. That's
 Case: 1:10-cv-01168 Document #: 1271 Filed: 01/16/18 Page 4 of 4 PageID #:37800
                                                                               4


1    granted.
2                And, Ms. Gorman, how long would you like to respond
3    to all of that?
4                MS. GORMAN: If I could have until December 22nd,
5    your Honor?
6                THE COURT: Sure. 12/22 for the response.
7                And then the reply -- give me just a second to put up
8    a calendar -- the reply January the 14th. And I will rule by
9    mail. Thanks.
10               MR. MICHALIK: Thank you.
11               MR. GARCIA: Thank you, Judge.
12               MS. GORMAN: Thank you.
13               THE COURT: Take care.
14        (Which were all the proceedings had in the above-entitled
15   cause on the day and date aforesaid.)
16                             C E R T I F I C A T E
17
18             I hereby certify that the foregoing is a true and
19   correct transcript of the above-entitled matter.
20
21
22   /s/ Laura M. Brennan                                  November 1, 2017
23
24
     Laura M. Brennan
25   Official Court Reporter                                       Date
     Northern District of Illinois
